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  UNITED STATES DISTRICT COURT
  SOUTHERN DISTRICT OF FLORIDA


  LUIS MANUEL RODRIGUEZ, et al.,
                                                        Case No.: 1:20-cv-23287-DPG
                                 Plaintiffs,
           v.

  IMPERIAL BRANDS PLC, et al.,

                                 Defendants.


           DEFENDANT IMPERIAL BRANDS PLC’S OPPOSITION TO MOTION TO
                STRIKE THE DECLARATION OF ANDREW RHYS DAVIES

           Defendant Imperial Brands plc (“Imperial”) submits this opposition to Plaintiffs’ Motion

  to Strike the Declaration of Andrew Rhys Davies [DE 41 (“Motion to Strike”)].

                                  PRELIMINARY STATEMENT

           1.     Plaintiffs seek to strike a declaration [DE 15-1 (“Declaration”)] filed in support of

  Imperial’s pending motion for a time-limited stay of this action on international comity grounds,

  to afford the European Commission time to decide Imperial’s application for authorization to

  defend this case. [DE 14 (“Stay Motion”)]. As interpreted by the European Commission, EU law

  required Imperial to file such an application prior to moving to dismiss this case. Id. ¶ 10.

           2.     The Declaration informed the Court, based on the declarant’s personal knowledge,

  that promptly after being served in this action, Imperial filed with the European Commission an

  application for authorization to defend itself in this action. Declaration ¶¶ 1, 4-5. Plaintiffs now

  ask the Court to strike the Declaration, complaining that it violates the hearsay and best-evidence

  rules.

           3.     The Motion to Strike should be denied, for four independently dispositive reasons.

  First, the Declaration is not a “pleading,” and therefore cannot be stricken under the only rule that
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  authorizes motions to strike. Second, the Motion to Strike is untimely, because it was filed only

  after Plaintiffs had responded to the Stay Motion and Declaration. Third, the hearsay and best-

  evidence rules are inapplicable to the Stay Motion. Fourth, even if those rules were applicable,

  Plaintiffs mistakenly invoke them here. The Declaration is not hearsay, and it does not violate the

  best-evidence rule because the declarant has personal knowledge of the facts contained in it. In

  any event, the Motion to Strike is futile because the Stay Motion should be granted even if the

  Court were to disregard the Declaration. Regardless of the Declaration, the record shows that if

  Imperial were to respond to the Complaint without securing authorization, it would be defying the

  European Commission and risking criminal exposure in the United Kingdom.

                                             ARGUMENT

  A.     The Motion to Strike Should Be Denied Because It Is Procedurally Improper

         (i)     The Court lacks authority to strike a declaration

         4.      Plaintiffs identify no authority for striking a declaration filed in support of a motion.

  Motions to strike are governed by Federal Rule of Civil Procedure 12(f), and are limited to

  “pleadings” as defined by Federal Rule of Civil Procedure 7(a). Siegmund v. Xuelian, 12-62539-

  cv, 2016 WL 1444582, at *4 (S.D. Fla. Apr. 11, 2016) (Gayles, J.) (declining to strike a motion),

  aff’d, 746 F. App’x 889, 891 n.2 (11th Cir. 2018). Declarations and affidavits are not pleadings.

  See Fed. R. Civ. P 7(a). Therefore, courts lack authority to strike them. Foliar Nutrients, Inc. v.

  Plant Food Sys., Inc., 6:13-cv-748ORL37KRS, 2014 WL 12625978, at *1 (M.D. Fla. July 14,

  2014) (denying motion to strike declaration); see also Polite v. Dougherty Cty. Sch. Sys., 314 F.

  App’x 180, 184 n.7 (11th Cir. 2008) (affirming denial of motion to strike affidavit); Silver Creek

  Farms, LLC v. Fullington, 16-80353-CIV, 2018 WL 1967133, at *1 (S.D. Fla. Feb. 15, 2018)

  (“[A] motion to strike that is directed at filings other than pleadings is improper.”).




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          (ii)   The Motion to Strike should be denied because it is untimely

         5.      Even if a declaration were a pleading that could be stricken, Rule 12(f)(2) requires

  that a motion to strike be filed “before responding to the pleading.” Plaintiffs did not file their

  Motion to Strike until September 15, 2020, four days after they responded to Imperial’s Stay

  Motion, including the Declaration. [DE 39 at 2, 6]. A motion to strike should be denied when—as

  here—it is filed after a party has already responded to the pleading to be stricken. Tracfone

  Wireless, Inc. v. Unlimited PCS, Inc., 12-cv-20013-UU, 2012 WL 12996615, at *1 (S.D. Fla. Mar.

  14, 2012).

         6.      Even though Plaintiffs first raised their evidentiary arguments in a September 5,

  2020 filing [DE 36 ¶ 4], Plaintiffs did not contact Imperial’s counsel to arrange a Local Rule

  7.1(a)(3) meet and confer on their Motion to Strike until Friday, September 11, 2020, i.e., the very

  last day to file that motion. Imperial’s counsel was not available until Monday, September 14,

  2020, and the meet and confer took place that day. Even if the Court were to forgive Plaintiffs’

  tardiness in seeking a meet and confer, Plaintiffs’ September 11, 2020 opposition to the Stay

  Motion indicated that they understood their Motion to Strike would be due no later than September

  14, 2020, i.e., the day on which the meet and confer took place. [DE 39 at 6]. Inexplicably,

  Plaintiffs did not file the Motion to Strike until September 15, 2020.

  B.     There Is No Basis for Plaintiffs’ Hearsay and Best-Evidence Objections to the
         Declaration

         (i)     Plaintiffs’ evidentiary objections are inapplicable to the Stay Motion

         7.      Plaintiffs assert hearsay and best-evidence-rule objections to the Declaration. As

  Imperial shows below, those evidentiary objections are ill-founded. Those evidentiary objections

  are also misplaced here because the Stay Motion presents a “preliminary matter to which the

  Federal Rules of Evidence do not apply.” Carasquero v. Intrepid Glob. Imaging 3D, Inc., 3:08-



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  cv-241-J-34JRK, 2010 WL 11507477, at *8 n.15 (M.D. Fla. July 2, 2010). Plaintiffs rely

  exclusively on cases involving motions in limine to exclude evidence from jury trials,1 but unlike

  a jury, “‘[a] district judge can be trusted in general . . . to give evidence its proper weight without

  regard to the technical rules of evidence.’” U.S. Commodity Futures Trading Comm’n v. S. Tr.

  Metals, Inc., 14-22739-CIV-KING, 2016 WL 4055685, at *2 (S.D. Fla. July 19, 2016) (brackets

  and ellipses in original) (quoting Greycas, Inc. v. Proud, 826 F.2d 1560, 1568 (7th Cir. 1987)).

          8.      Accordingly, a district court may, for example, rely on hearsay evidence in the

  context of a motion to remand, Cordova v. Sensa Prods., LLC, 11-cv-80835, 2011 WL 13160763,

  at *1 (S.D. Fla. Dec. 27, 2011), or a preliminary-injunction motion, Levi Strauss & Co. v. Sunrise

  Int’l Trading Inc., 51 F.3d 982, 985 (11th Cir. 1995). No reason exists to impose stricter

  evidentiary standards on the Stay Motion.

          (ii)    Plaintiffs’ hearsay and best-evidence-rule objections to the Declaration are
                  also incorrect as a matter of law

          9.      The Declaration affirms, based on the affiant’s personal knowledge, that, on August

  27, 2020, eight days after being served in this matter, Imperial filed with the European Commission

  an application for authorization to defend itself, pursuant to Article 5 of Council Regulation (EC)

  No. 2271/96 [DE 14-2]. Declaration ¶¶ 1, 4. The Declaration informed the Court that the

  application primarily seeks blanket authorization to defend this lawsuit. Id. ¶ 5. In the interests of

  candor, the Declaration also informed the Court that, to guard against the risk of a blanket denial,

  the application seeks, in the alternative, at a minimum, authorization in the first instance to file and

  litigate a motion to dismiss the Complaint. Id.



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           See Motion to Strike ¶ 9 (citing Indus. Eng’g & Dev., Inc. v. Static Control Components,
  Inc., 8:12-cv-691-T-24-MAP, 2014 WL 4983912, at *4-5, *8-9 (M.D. Fla. Oct. 6, 2014); Middleby
  Corp. v. Hussmann Corp., 90 C 2744, 1993 WL 151290, at *1 (N.D. Ill. May 7, 1993)).


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         10.     Plaintiffs have no genuine basis to question the veracity of the Declaration. Nor do

  they have any genuine interest in having it stricken. As Imperial has shown in the context of the

  Stay Motion [DE 45 ¶ 8], the requested stay should be granted in the interests of international

  comity even if the Declaration were disregarded. Regardless of the Declaration, the record

  demonstrates that Imperial would be defying the European Commission and exposing itself to the

  risk of criminal liability if it moved to dismiss without authorization. A fortiori, the elimination of

  paragraph 5 of the Declaration—the only portion about which Plaintiffs appear to have a

  complaint, Motion to Strike ¶¶ 7, 9—would not undermine the Stay Motion.

         11.     In any event, Plaintiffs’ hearsay objection is baseless, as the Federal Rules of Civil

  Procedure permit a motion to be supported by a declaration. See Fed. R. Civ. P. 43(c); 28 U.S.C.

  § 1746. Here, the declarant has personal knowledge of the facts stated, Decl. ¶ 1, so could

  competently testify to the facts if required. Plaintiffs offer no support for their assertion that the

  Declaration was required to “explain the source of that knowledge,” Motion to Strike ¶ 7, but

  counsel explained during the meet and confer that the declarant—as the principal counsel

  responsible for this matter—supervised the preparation and filing of the application.

         12.     Plaintiffs are equally mistaken with their “best evidence” rule objection. Motion to

  Strike ¶¶ 9-12. The best-evidence rule only requires the use of original documents “where the party

  presenting evidence seeks to prove the specific contents of a writing.” Telecom Tech. Servs. Inc.

  v. Rolm Co., 388 F.3d 820, 830 (11th Cir. 2004). It does not bar the use of testimonial evidence to

  show the occurrence of an event—here, that Imperial has sought authorization. Id. And the best-

  evidence rule does not “require production of a document simply because the document contains

  facts that are also testified to by a witness.” Allstate Ins. Co. v. Swann, 27 F.3d 1539, 1543 (11th

  Cir. 1994). “While the document itself may provide more detailed evidence as to precisely what




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  [was] represented in writing, the best evidence rule does not preclude declaratory evidence on the

  matter.” Jackson v. Nat’l Credit Sys., Inc., 1:16-cv-01029-ODE-WEJ, 2017 WL 2903353, at *3

  n.9 (N.D. Ga. Feb. 27, 2017).2

         13.     Finally, there is no basis for Plaintiffs’ footnoted assertion, Motion to Strike ¶ 11

  n.1, that there is “no reason why” the Declaration was not filed with Imperial’s Stay Motion.

  Although Plaintiffs have articulated no genuine interest in reviewing the application for

  authorization, Imperial has legitimate reasons for not filing it publicly. Under Article 3 of

  Regulation 2271/96 [DE 14-2], the authorization process is confidential. Another federal court

  aptly noted that a party would “make hash” of a similar EU confidentiality provision by disclosing

  the document to its adversary in U.S. litigation. In re Qualcomm Antitrust Litig., 17-md-02773

  LHK (NC), 2018 WL 10731128, at *2, 4 (N.D. Cal. Mar. 26, 2018) (declining to order production

  absent “a particularized showing of need”); see also In re Rubber Chems. Antitrust Litig., 486 F.

  Supp. 2d 1078 (N.D. Cal. 2007) (denying on comity grounds motion to compel disclosure of

  defendant’s communications with the European Commission). No doubt, Plaintiffs would be

  pleased if public disclosure of Imperial’s application undermined Imperial’s request, but Imperial

  will not risk that outcome by disrespecting the confidentiality of the process. Moreover, under

  Article 5 of Regulation 2271/96 [DE 14-2], and as reflected in Section 6 of the official EU

  application form [DE 45-2], an applicant for authorization must disclose the “serious damage” it

  would suffer if not permitted to defend itself. Imperial has legitimate interests in not disclosing


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         See also Indus. Eng’g & Dev., Inc., 2014 WL 4983912, at *5 (“‘[I]f a witness’s testimony
  is based on his first-hand knowledge of an event as opposed to his knowledge of the document,
  however, then [the best-evidence rule] does not apply.’”) (quoting Waterloo Furniture
  Components, Ltd. v. Haworth, Inc., 467 F.3d 641, 648-49 (7th Cir. 2006)); Exemar v. Urban
  League of Greater Miami, Inc., 585 F. Supp. 2d 1377, 1382 (S.D. Fla. 2008) (best-evidence rule
  “does not apply where a witness’s testimony is based on his first-hand knowledge of an event as
  opposed to his knowledge of the document”).



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  such information to its adversaries, and, as a public company, legitimate interests in not disclosing

  such nonpublic information more broadly.

            14.   Nevertheless, if the Court believes that it would be helpful to review the application,

  Imperial will voluntarily make it available for in camera review.


            WHEREFORE, Imperial respectfully requests that the Court deny Plaintiffs’ Motion to

  Strike.

  Dated: September 22, 2020
         Miami, Florida
                                                  Respectfully submitted,

                                                  /s/ Mark F. Raymond
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